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                UNITED STATES BANKRUPTCY COURT OF GEORGIA
                             NORTHERN DISTRICT




               CASSANDRA 301INSON-LANDRY
               DEBTOR                                                 BRC 18-55697 LRC

                                                            )
                                                            )

RESPONSE TO ORDER DEFERRUNG RULING ON APPPROVAL OF CHAPTER 7 TRUSTEE'S
Ft N A L REPORT AND TRUSTEE'S APPLICATION FOR COMPENSATION AND GRANTING
T IZi:STEE'S REQUEST FOR REIMBURSEMENT OF EXPENSES AND APPLICATION FOR
COM PENSATION OF PROFESSIONAL.



CASSANDRA JOHNSON-LANDRY, Debtor, received the Order to respond within 14 days from May 4,

2021, as ordered by presiding judge, The Order was the result of a rescheduled Telephonic Hearing

which took place on April 14, 2021 Due to the court alleging and or alluding to Debtor not being present

for the scheduled March 11, 2021 Telephonic Hearing, although Debtor acknowledged her presence

during the scheduled calendar call by the assigned judicial clerk, it is and continue to document there were

      [in al issues, causing the Debtor not to be heard or the Debtor was not present which is false.

Furthermore, Debtor respectively requests the redaction of false statement regarding Debtor's on

attendance. This attempts to portray Debtor as being irresponsible and questions Debtor's primities. This

is     flawed statement as it pertains to current Bankruptcy case. Not acknowledging Debtor's presence

allowed the Trustee and or Trustee's Attorney additional time to possibly complete preplanned tasks

 ,hich    were unethical due to the amount of fraud without investigation.




 • As slated. in the Order dated May 4, 2021, Debtor tiled an Objection regarding the Application for

     Compensation for both Chapter 7 Trustee and Chapter 7 Trustee's Attorney, as Debtor has received

     u*st treatment in addition to, violation of Debtor Civil Rights and Due Process. There continues to be
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conflictual, illegal and compromised activities amongst court officials pertaining to Debtor's Real

Property. Not reporting appeared mortgage fraud totaling millions of dollars and also the Abandonment

of Commercial Property, which was owned by a Limited Liability Company. Due to the resistance of

the local state Magistrate Court refusing to left the Stay, this one particular property was brought into

Debtor's personal Bankruptcy and the lift of Stay was granted. Again, Debtor's Limited Liability

Company aid not file Bankruptcy. Debtor was Guarantor for one commercial property along with

  evious business partner, however, it was revealed multiple loans were taken out, unbeknownst to

Debtor, by previous business partner and placed into unknown account. Due to Debtor's previous

business partner abandoning the agencies, Debtor uncovered evidence of criminal wrongdohig; such as a

Ponzi Scheme pertaining to both commercial properties. Given the above information which, has

continues to be documented, the Trustee's duties. were not fulfilled. 'There was no Department of Justice

report etc. Since, the Trustee was placed over Debtor's estate, the presiding judge allowed the decision

W report the above cts, solely on the Thistee. (Refer to previous filing by Debtor)

                                                 2.

  It is stated, Debtor' S first objection was concerning Trustee's commission . Of $0,093.44 due to the

 Trustee's failure to explain how' the amount was derived . There- was not a discussion regarding the

 'Trustee's coininission Via telephonic hearing. Herbert Broadfoot II E§4, commented to the

 Debtor, no. money Would be rctumed to the Debtor Debtor does not allude to the fact there was a

 laek of understanding regarding . the percentage, however the debtor requested an explanation

 from the Trustee and Counsel regarding compensation. According- to

  Section 326 — Limitation on compensation of trustee are as follow:

 (a) In a case under chapter 7 or 11, other than a case under subchapter V of chapter 11, the court

 may allow reasonable compensation under section 330 of this title of the trustee for the t ustee's

 servkes, payable after the trustee renders such services, not to exceed 25 percent on the first $5,000

 or less, 10 percent on any amount in excess of $5,000 but not in excess of $50,000, 5 percent on any
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   amount in excess of $50,000 but not hi excess of $1,000,000, and reasonable compensation not to

   e.xceed 3 percent of such moneys in excess of $1,000,000, upon ali moneys disbursed or turned over in

   the case by the trustee to parties in interest, excluding the debtor, .but including holders of secured

   clah s. Given the uninvestigated issues the above compensation is not warranted. Without a validation of

   debt how would one detemiine compensation?

                                                         3.

Although there was a review, of billing submitted by Trustee's legal counsel, still according to the Chapter 7

Handbook, if a trustee acts as the trustee's own attorney or accountant, detailed time records of the tasks

pe.Iffonned as attorney or accountant must bernaintáined. A trustee acting as attorney Or accountant under

section :327(d) may receive compensation only for.services perfonned in that capacity and not for the

perfonnance of regular trustee duties. 11 U.S.C. § 328(b). The demarcation of the roles of the trustee and the

professional must be made to ensure that an estate incurs only appropriate costs for administration. The cost of

administration and its financial effect upon creditors demand careful scrutiny of the trustee's application to

employ themselves or others. Abuse in the process of a trustee serving dually as attorney or accountant may be

the basis for suspension or removal from the panel,

   Attorneys and accountants shall not be compensated for performing the statutory duties of the trustee, 11

  U.S.C. § 704, Fed. R. Bankr. P. 2015(a). The following list includes examples of services considered to fall

  within the duties of a trustee:

  1)Preparing for and examining the debtor at the meeting of' creditors in order to verify factual matters

  2) Examining proofs of claim and filing routine objections to the allowance of any claim that is improper

  3) Investigating the financial affairs of the debtor

  4) Furnisbing information to parties in interest on factual matters

  5) Collecting and liquidating assets of the estate by employing auctioneers or other agents and soliciting

  offers

  6) Preparing required reports

   7) Performing banking functions; and Handbook for Chapter 7 Trustees Page 4-22
                                                          3
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3) in appropriate eds4         applications for employment OfprOfessionalS and sUperyiSing those

profeSSjbn41S, "the aforementioned trustee duties are not conwensable..as legal. or accounting services unless

isufficiently dOctintented:to show that special circumstances:

The. following dates eorrelate with the abOve number as h relates to non-billable -citifies

 .118

1.2.19-1

18.19-8

1.24.19.3

2,849-4;3

2.15.19.3

127W t9,4

6.10.1.9-3:

3.27.20-6



114,20-2



826.20-Z6



12.4.19-2

1 l'.20741

1.13,20(1-3)4

11.26,197276

11.2 ,19-4

1.20.20.4.

1.24.204

1:28.20-4


                                                      4
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1.29.20-4

2.3,20-4

2.4.20-4

/12.20-6

2.10,20-1

2,6:20-2

12.4.1946

1.10.20-8

11.21.19-4



4.9.20-3;4

3,27.20-6

3.11.204,6

3.5.20-2 (REQUIRED TO ATTEND)

14i0-. NO FORECLOSURE PROPERTIES WERE STOLEN, EVICTION IS THE PROPER

WORD, MORTGAGE FRAUD WHICH WAS NOT INVESTIGATED. WHAT IS THERE TO

INVESTIGATE?)

4.16.20-3,4,7

7.9.2076

6.3.20-3,4;7

6.2.20-3,4,7

6.9.20-3,4,7

5.27.2073.4

5.19.2074

4.25,20-6

7.17.20 (Proof Requested)


                                                 5
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7.29.2071

730.20-1

8. [2.20,--2

The Chapter 7Tru§ted ernplOyed Legal Consel, hOwever, the pii*Se is to legally protect the Trustee.

Therefor; any tasks completed by the employed Legal Counsel refersthe Trustees.Role and Duties: (EXHIBIT

A ),




               As it Pertains to claims .within. the May 4, 2021 Order deferring: payment .as

               follow;

               A. Claim Number 3, (2145.700-5). Valati 13umough was employed by the:

                  Attachment and Bonding Center OtAtlanta; LLC             Although, it appeared

                  SheWaS: eneOttraged tO file an . adVerSary Claim. against: :all, entities She.

                  was a contractor . NOT AN EMPLOYEE under Attachment and.

                  BOnding Center LLC,:nOt Cassandra kihnson-.:.Landry, Debtor was fully.

                  aWare. itlippeared Ms. .13urnongh was Utilized to assist in:encouraging

                  Attachment and..Bonding Center of Atlanta LLC:„: to file Bankruptcy due

                  to uncovered illegal activity conducted by the Debtor's previous

                  Business Partner as it relates to appeared embezzled and more through

                  Attachment and Bonding. Center of Atlanta LLC, Attachment and

                  Bonding was a Limited Liability Company. If Attachment and Bonding

                  Center LLC. was dissolved it, would eliminate all questions regarding

                  the money owed to Attachment and Bonding Center of Atlanta LLQ. by

                  the Department of Family and Children Selvics which, was eleased to

                  the Trustee as stated..'. Previous docurne ts. Total was approximately

                  over 2 million dollars owed to Attachment and Bonding Center LLC. In


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         addition, to the elimination of discussion regarding. payouts to Legal

         counsels, which was also uncovered after Debtor's ex-business partner

          abandoned all agencies to include Attachment and Bonding Center of

          Atlanta, LI-C. (Exhibit B). Debtor was• informed Ms. Bumough passed in

          September 2020, which ironically was the same time Debtor's home was

          illegally taken. Both Attachment and Bonding Center of Atlanta LLC.

          and Debtor's primary residence were abandoned by the Chapter 7

          Trustee, S. Gregory Hays.

       B. Claim Number 4 (21533094)-A claim of 13,312.00 •was submitted on

          behalf of American Express. Based on Debtor's current knowledge.

          There was a charge off of 13,312.00 however, American Express

          submitted an additional claim. Recently. Debtor received a letter from

          American Express stating Debtor requested all statements which, is not

          true. The concern; another individual requested information pertaining to

          Debtor without Debtor's knowledge, Debtor responded stating she did

          not request such information. Since this debt was charged off, no claim

          should have been filed. Debtor questions the validity debt. EXHIBIT C).

       C. Claim. Number 6 (215558799-Submission of Claim totaling 9000.99 by

          Midland Funding (FACTORING COMPANY) on behalf of Synchrony

          Bank /Sam's, Account was factored out, therefore paying the Creditor.

          Why vv-as a claim filed within the Debtor's Bankruptcy? In addition,

          account numbers do not Match previous Sam Account. There are two

          different accounts. There was no refinance by Debtor, Debtor

           understands accounts are sold daily. Opening Dates do not match. This

           does not appear to be Debtor's account. (EXHIBIT D).




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        D. Claim Number 9 (21585882)7 Quanturn3 Group LLC/Comenity. Bank

           behalf of Victoria Secrets. No money owed per J.W. Representative.

           There are two different charge accounts, Why was this claim filed?

           (EXHIBIT E)

        E. Claim Number 12 (21600576) Bank of America 22,656.01 Debtor

           requested validation of debt as it is questionable. The account number is

           not listed in addition, to account being charge off Why was this claim.

           submitted? (EXHIBIT F)

        F. Claim Number 13 (Bureaus Invest ent Group Portfolio behalf of

           Clapital• One- 11,439.52. (Debtor contacted credithr unable to reach

           to obtain information).

        G.. Claim Number 21(Bureaus Investment Group Portfolio behalf of Capital One

           10,389.95) (Debtor contacted creditor unable to reach to obtain informati        )-

In addition, claim number 2 was also submitted by Bureaus Investment Group

PeTtfolio behalf of Capital One, ill the aUioüntOf 13,119.40. It is obvious the

identified claims listed ate HIGHLY suspicion. It appears, there is a great

pxobability these claims were not submitted by the Creditor. Debtor is NOT

saying she did not have credit accounts however, Debtor has noticed similarities

regarding the filing of particular claims. NO validation of debt? Please. DO

NOT create these documents. (EXHIBIT G).



                                     6.

Debtor, previously submitted information within the original Bankruptcy Petition

P:acket regarding various forms of fraud to include Mortgage and Identity Theft.

Trustee Chapter 7 and Trustee Chapter 13 was fully aware of Debtor's situation and

the reason for VOLUNTARILY filing bankruptcy. It was very obvious the list of
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 Abandonments were connected to riegafive.events, contained illegal actiVity

 iarioIving Real Properties both Personal and Commercial. Although Debtor is not

 Legal Counsel with a Bar Number to practice the study of Law, Debtor has

 researched and located documents explaining why there were no investigations. It

 appears, all commercial properties associated with Debtor's agencies Alliance for

 Change Through Treatment LLC, and money owed to Attachment and Bonding

 Center of Atlanta LLC. were abandoned in order to eliminate the liability but, to also

 illegally collect ALL OUTSTANDING monies owed to Debtor and her agencies for

 financial gain. Furthermore, it appears money collected NOT BY DEBTOR, is

 possibly being rerouted via possible claims and submitted back to individuals.

 Debtor is not making accusatory statements however, Debtor knows there are many

 unclean hands involved in Debtor's Bankruptcy. Debtor filed police reports, case

  number and more however, Debtor knows the role was to cover the wrongdoings of

  others and gain financially using, Debtoras a Scapegoat. Debtor has also submitted

  complaints regarding submitted evidence and more, being removed from Debtor's

 13Enkruptcy Pocket AGAIN, the need for investigation will continuously be

  requested. All case numbers and Police Reports involving break ins and thefts were

  sitornitted to Chapter 7 Trustee and filed within the Bankruptcy court.



                                     7.

Debtor has cOmpared dockets and listed activity by date, especially regarding the

reschednling of the 341 Creditors Meeting and there was NO Confirmation of Debtor's

Chapter 13 Bankruptcy prior to Conversion to Chapter 7. Original date of Bankruptcy

filing was 4.3...18. According to the rules from the 2017 Federal Bankruptcy Rule Book

applies, given itis updated on December i Of each year previously, Additional

Supplements are printed as needed, whenever there 'aft- concerns noted by a debtor

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which, do not- Support the CREDITOR. Also IF there•was a request to reschedule a

meeting of hearing,.Debtor submitted the appropriate motion and supporting.

docuinents.PRIQg unless there was an emergency such as Debtor being. hospitalized

which, has taken place several times, Yes, regardless of what is written by A Non-

Physician, Debtor's bospitalization resulted .from accidents in 2016 and 2017 in

addition, to the trauma resulting from the Bankruptcy process, State Agencies and

additional Legal COunsel. Claims from-these accidents Were Stolen in addition to

money from the illegal sale of Real Properties, money owed to Debtor Agency by

DFACS and More. All Monies including the lawsuit settlement on behalf of Alliance

for Change through Treatment LLC, was taken. There were numerous changes of dates

pertaining to the .341 .Meetings. It appeared Debtor was not notified of Changed dates

similar to not being notified of the Lift of Stay   Debtor'S Real Properties 2969

Sweetbriar Walk and 869. Natchez Valley Trace, This.Was intentional giveathere are

audits:of Bankruptcy Cases: If Debter'S case ids audited by The Department of Justice

and other agencies, the constant changes pertaining to meeting and hearing dates.

woid d create difficulty tracking the. exact dates of claims submission, the inability to

.detei'Mine why claims Were submitted outside of the legal timeframe, make it appear

thoDebtorl.*4 irresponsible serving as the cause for chaos within Debtor's

Bankruptcy which, is NOT the cause, assist in hiding ALL illegal activity pertaining to

the abandonments and also redirect the attention of the auditor causing the need to

NOT question changes within behtor's docket:as it is seriouSly flawed. (EXHIBIT H.

                                              8.

Debtor Will submit Objection of Claims as outlined in order in addition, to ,service on

the le day of May 2021. Proof of filings will be submitted to the US BRC Northern

Georgia for docketing, In addition, due to the uncovering is suspicious activity in

greater detail and Debtor possessing written evidence Debtor will submit additional
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b)jection to additional claims. Debtor and spouse continues to be victims of ID Theft

and identity. Payments are being. made on Spouses Credit Cards numerous times from

Spouses Account. Payments are being made to a Credit Card Company in LAS

VEGAS, NEVDA. Debtor's spouse information is listed Within the Bankruptcy Court

also. Speuse's Bank Account is being accessed by tomPanies such as Merrill Lynch

aM others. Debtor and Spouse are aware: and has made the necessary contacts fcir

Nporting purposes. This is NOT   Igpmc Debtor     request both Legal Counsel for

Chapter 7 Trustee and Chapter 7 Trustee be compensated as approved during . the

March 2021 Hearing,



18th day of May 2021




Cassandra Joh on-Land ry,
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     UNTIED STATES BANKRUPTCY COURT OF GEORGIA- NORTHERN DISTRICT.
                        CERTIFICATE. OF sEgvicK


    CASSANDRA -19 11NON-LAND                     Dbtor,: currently: submit, RESPONSE TO ORDER
) EFERRUNG RULING ON APPPROVAL OF CHAPTER 7 TRUSTEE'S FINAL REPORT AND
  'Ft USTEE'S APPLICATION FOR COMPENSATION AND GRANTING TRUSTEE'S REQUEST FOR
   EINIBU RSEMENT OF EXPENSES AND APPLICATION FOR COMPENSATION OF PROFESSIONAL
     the.1801 Dayof May 2021. Debtor is over the age of 18 years. Debtor requests submitted document be
I istribOted. tO parties .located on Debtor's Bankruptcy Matrix.



t 61' Day of lay 2021




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                                  EXHIBIT A




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                                     Herbert C. Broadfoot P.C.
                                       2964 Peachtree Road
                                     Buckbead Centre Suite 555
                                       Atlanta, Georgia 30605

S. GregOry Hays, Chapter 7 Trustee                                                     January 14,202
Hays Financial Consulting, LLC                                                                     43-1
2964 Peachtre,e Road, N.W.
Suite 555
Atlanta, GA 30305



Matter 6. 43-
Cassandra Johnson Lan        Debtor 18-55697-LRC


                                                                               •Hours

                  FiCH   Office conference with Trustee to discuss              0.90           $337.50
                         representation in Chapter 7 case of Cassandra • '
                         Johnson Landry, Debtor (A); Review file and • •
                         docket to determine status of case, action needed
                         (.5)
01/07/19          Hat    1    arel and file Application to Employ Herbert...   :1030            $26230
   .zelc                    Broadfoot II, RC. (HCBPC) as attorney for •
                          Trustee (7)

01/081.:19        FICH    Prepare and uploadOrder gradingApplication to          0.50           $187.50
                          Employ attorney for Trustee (5)

                          Prepare for hearing on Debtor's Motion to             ., 4.70        $ ,762.50
                          remove Trustee (.8); Attend hearing on Motion to
                          remove Trustee (3.0); Prepare and upload Order
                          denying Motion to remove Trustee (3); Receipt
                          and review of Debtor's Objection to employment
                          of 1403PC as attorney for Trustee (2) . • , •

 01/1.1/1,        RCE     Receipt and review of Order denying Motion to          •0.10            $37.50
                          remove Trustee and requiring Debtor to attend
                          341 Meeting and.to cooperate with Trustee (.1)

 01/17/19         HCB     Receipt and review of Debtor's, Objeetion to            0.70           $262.50..
                          Order denying Motion 4) Remove Trustee(.2);:
                          Receipt and review of Debtor's Notice of Fraud;
                          Intent to Commit Fritud(.5).
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Cassandra Johnson Landry, Debtor 18-55697-LRC                                              Page 2


01/24/19       HCB      Conference with Trustee regarding insurance       0.30           $ 12.50
                        policy assets, abandonment of properties,
                        objection to Debtoes claims of exemptions (.3)

01/2311.9 I'   HCB      Review and sign off creditor's Order granting     0.20            $75,00
        %               Motion for Relief from Stay (2)

02/03/19 •     HCB      Telephone call with Ms. Buell, Senior Legal       0.40           $l5.0O
                        Process Coordinator, Northwestern Mutual
                        concerning Debtor's insurance policies, and
                        followup email to Ms. Euell to confirm
                        conversation., request for information (.4)

02./12/19      HCB      Prepare and file Trustees Objection to            1.00            $375.00
                        Exemptions (1.0)

02/14119*      HCB      Receipt and review of Debtor's Notice of          0.20             $75.00
                        Conversion from Chapter 7 to Chapter 13 (.2)

012/15119      HCB      Erilail from Ms. Euell, Northwestern Mutual        0,40           $150.00
                        Senior Legal Process Coordinator, providing
                        requested information about insurance policies
                        and conference with Trustee concerning assets
                        (4)

 02/22/ 9 '44-- 11C13    Receipt of Order and Notice of Hearing of        .030             $112.50
                         Conversion from Chapter 7 to Chapter 13 (1);
                         Review Chapter 13 Trustee's Response to
                         Debtors Request to Reconvert (2)

 02/28/19                Note Debtor's Change of Address filed (.1)        ?0.00        •No. charge

 03/27/19      HCB       Entail to attorney Mandy Campbell representing    0.20             $75.00
                         Chapter 13 Trustee regardingNorthwestern
                         Mutual insurance policies (2)

 05/22/19       HCB      Review of Complaints filecl by and against        0.50            $187.50
                         Debtor., Adversary No 19-05217i Adversary No.
                         19-05218 (5)

 06(04/19       UCB      Review of Order denyizg Debtor's Motion to         0.30           $112.50
                         Reconvert case to Chapter 13 (3)

 061 0/ 9       HC13     Telephone call with Ms. Angela Euell,                             $150,00
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Cassandra Johnson Landry, Debtor 18-55697-MC                                                Page 4


11/21/19,44A            Review of Orders dismissing adversary               0.50           $1 7.50
                        proceedings filed by Debtor against mortgage
                        compardes (.5) -

11/22./19 IA liCB       Telephone call from attorney Chris Gunnells         0.60           $225,00
                        regarding claim for personal injury Ott bebalf of
                        Debtor (3); Email to attorney Omens to send
                         ample application for employment of special
                        counsel (3)

1 /26/19 AAA', HCB      Review of Order rescheduling hearing ou             0.60           $225.00
                        Trustees Objection to Exemptions to 1/9/2020
                        (,1); Conference with Trustee regarding email
                        from Jeneane Treace concerning status report and
                        Debtor's allegations, Notice of Proposed
                        Abandonment, reset hearing on exempt property
                        (5)

12/04/19 ,44/   -1CB    Conference with Trustee and preparation of          1.50           $562.50
                        Notice of Abandonment and Response to
                        Debtor's Motion Requesting Trustee's Report
                        (1.5)

12/04/19        HCB     Revise and finalize pleadings filed by Trustee      cog            $187.4
                        ( 5)
12/20/19AK HCB cofr- Review ofDebtor's Motion for Delay (.1)                 0.10            $37.50

 01/07/20 4,2;<, HCB•    Review of Order Rescheduling Hearing and            0;20            $75.00
                         calendar bearing date (2)

 01/09/20 4(2,,< HCB     R.eview ofNotice of Reinoval ofAttorney for         0.80           $Ô0,O0.
                         Trustee (.2); Review of Amended Operative
                         Complaint filed by Debtor in U.S. District Court
                         adding Trustee as Defendant (.6)

 01 '10120      HCB      Review of Order Dismissing Notice of Removal        0.50           $1 .50
                         of Trustee's Attorney (.2); Email from and to
                         jeneane Treace concerning Trustee added to US,
                         District Court action (3)
 01111/20 „agt fICB•     Reaearch regarding Barton doctrine (.5)             0.50           $187.50
 01113120 dtj !JCR       Legal research regarding Barton doctrine,           0,70           $262.50
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Casundra Johnson Landry, Debtor 18-55697-MC                                                  Page 5


                       dismissal of District Court civil actiàn as to
        rd I(t,        Trustee (.7)       .
         6--iA•
01/1S/20        HCB    Further research regarding Barton doctrine (8)       0.80           $300..00

01/13120 tV,   HCB     Preparation of Motion to DismissYrustee as           1.00           $375 C('
                       Defendant (1.0)

01/20120 4. HCB        Continued research and prepara.tion of Motion to     1.00            $375.00
                       Dismiss 'Trustee (1.0).

01/24/20 0-, HCB       Continued preparation of Motion to Dismiss and       1.00            $375.0(
                       Brief (1.0)

01/23/20a, HCB         Continued preparation Of Motion to Dismiss and       1.00            $375.00
                       Brief (1.0)

01/29/201,4:-. HCB      Continued preparation of Motion to Dismiss and      1.00            $375 i
                        Brief (1.0)

02/03/20 el(   FECB     Finalize Motion to Dismiss and Brief (.3);           0.50           $187 50
                        'Telephone call with aeries Office regarding EU
                        (2)

 0 a/04"20 wit HCB      Filo Motion to Dismiss and Brief in U.S. District    0.70            $26250
                        Courts including conference with clerk (7)

 02/06/20 t14., HCB     Prepare, file and serve Motion for Continuance       i‘pq            $375,00
                        of Hearing on Trustee's Objection to Exemptions
                        (1.0)

 02/10/2004-- HCB       Receipt and review of multiple dOcket entries in     0.60            .$225.00
                        U.S. District Court ease (.6)

 0             1-1CB    Prepare and. file Trustee's Report of Litiga        . 1.00           $375.00
                        (1.0)

 02/19/20 A/4. FMB      Reiicw of niultipic docket entries in U.S.           0.30            $112.50
                        District Courrease (.3)

 02/20120       ICE     Receipt and review of Debtor's Motion to              0.30            $112.50
                        Remove Trustee's Attoiney (3)

 02/21120 VC"- HCB      Review of multiple entries on docket of U.S.          0.30            $112.5C
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Matter No. 43-1                                                                 Jane   4, 2021
Cassandra Johnson Leahy, Debtor 18-556 7-LRC                                            Page 6

                     District Court (.3)

02/28/20 ox,HCB      Review of multiple entries on docket of U.S.        0.40          $150.00
                     District Court, including Final Report and
                     Recommendation that Trustee's Motion to
                     Dismiss be granted (4)

03/01120     HCB     Receipt and review of pleadings filed by Debtor     1,30          $48750
                     regarding foreclosure and dispossessory (3);
                     Preparation for hearing on Trustee's Objection to
                     Exemptions and Abandonment of Assets (1.0)

0310.5t20.   HE      Attend heating on Trustee's Objection to            2.30$R6250
                     Exemptions and Abandonment of Assets (2.0);
                     Review Debtor's Emergency Motion for
                     Volimtary Dismissal of Case (3)
03/09/20     HCB     •Review of Orders and Judgment entered in U.S.      0.30                0
                      District Court, civil case temiinated (.3)

03/10/20     HCB      Office conference with Advocate from Georgia       0.50          $187,5
                      Department of Human Services sent at Debtor's
                      request (NC); Conference with Trustee to discuss
                      status of case (.5)

01/11/29 4   KB       Prepare and upload Order Stistainmg•Trustee's •    1.00          $375.0e
                      Objection to Exemptions. (I.0)

03/27/20 44 HCB       Prepare and file Trustee's Second Status Report    0.50           $187.50
                      of Litigation (.5)

04)07/20 k.HCB        Review of Orders approving Notice of               0,40           $150.00
                      Abandonment, denying Motion of Debtor to
                      Remove Trustee's Aftomey, and establishing
                      Objection Deadline (4)

04/09/20 4X-FICB      Telephone call with Ms. Ellett of Northwestern      0.70          $262.50
                      Mutual regarding surrender value of life
                      Insurance and annuity policies and email to
                      confritn conversation (4); Telephone conference
                      with Trustee and Jeneane Trem co concerning
                      Debtor's request for disminal of case (.3)

04/16/20 cei< HCB     Email from Nis. Euell of Northwestern lvtutual      0.10
  Case 18-55697-lrc          Doc 365      Filed 05/18/21 Entered 05/18/21 15:29:42             Desc Main
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Cassandra Johnson Landry, Debtor I8-55697-LRC                                           •      Page 7


                         regarding policy values (.1)

04/21/20 VY-       HCB   Prepare Trustees Objection to Debtor's Motion        1,00           $375.00
                         to Dismiss Case (1.0)

04/25/20   6X- HCB       Finalize and file Trustee's Objection to Dismissal   1.00           $375.00
                         of Case (1.0)

05/04/20 9/7:-. HCB      Review and calendar Notice of Hearing (.1)           0.10             $37.50

05/19/20 Nit HCB         Conference 0i1 with Trustee and Shawna Staton        0.70            $262.50
                         regarriing. hearing on Debtor's Dismissal of Case,
                         Trustee's Objection (.5); Email to ShaWna Staton
                         to send U,S, District Court pleadings (.2)

05/20/20 14        HCB   Prepare for bearing on Debtor's Motion to            1.00            $375.03
                         Dismiss Case (.5); Attend bearing (.5)

06/20 cAr. HCB           Review of Order Denying Debtor"s Emergency            0.20             $75.00
                         Motion to Dismiss Case (.2)

05/27/20Ji- BCE •         Email to Ms. Buell at Northwe.stern Mutual           0.40           $150.00
                          requesting funds from surrender of insurance and
                          annuity policies (.4)

•0c5102120         HCB    Telephone call from Ms. Buell regarding              0,40            $15000
                          payment of funds; tax liability, and 6rnail to Ms
                          Euell to confirm convertation(.4)

 6103120. 15L 'HCB
                - •       Email from and to Ms. Eu 11 regaidhig payment        030             $112.50
                          of funds to Trustee (.3)

 06/09/20      .   HCB    Emails from and to Ms. Buell tegarcling cb.ecks      0.30            $112.50
                          payable to Trustee, W-:9 form (.3)

 06/12120           CB    Review of Order and Judvnent from U.S.                030            $112.50
                          District Court dismissing Appea118-cv-5095 (.3)

 06/16/20          HCB    Review Debtor's Objection to Order denying            0.30            $112.50
                          dismissal of case (.3)

•07/09/20 04 HCB          Prepare and file Report of Ttustees Receipt of        0.50            $1.8 7.50
                          Funds (.5)
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Matter No. 43-1                                                                        anuary 14,2021.
Cassandra Johns          dry, D tor 18-556 7- RC                                                Page 8


07/17/20    Arli FICB,    Email to Debtor in response to her inquiry about    0.20             $75,00
                          disbursements by Trustee from estate account
                          (.2)

07/2140 bit HCB           Review. of Order Detiyhig Debtor's Objection to     0,30            $112.50
                          prior Order denying Motion to Diswisa case (.3)

07/29/20    /..1‹ Hal     Review Claims Register in preparation for                           $375.00
                          Objeetions to Proofs of Claim (1.0)

07/30/20    tk.   HCB     Review of Debtor's Objection to Ord (-2)            0.20             .875. 00

0:3/12/20, itf.ftlICB     Prepare objection to claim (.5)                     0.50            $18750

03/17/20 'vAHCB           Continued preparation of objections      claims     1.00            8375.00
                          (1.0).

0VIS/20 if HCB             Continued preparation of objections o claims       0.50            $187.50
                           (.5)
03/20/20 raw?, HCB         Continued preparation of objections to claims       030             $187.50
                           (.5)
03/21/20 Air., 1103        Coati:auecl preparatic   of bj   ions to claims     1.00.           $47.5.00
                           (1.0)

03/26/20    eaK. HCI3      Finalize, file and serve Objecdo                    1.50            $56230
                           Notice of Hearing (1.5)

09/1( /20         HCB      Review of Order Denying Debtor's Objection to       020,             $73 00
                           Order dated 7/21/2020 (2)

 09/25/20         F1CB     Review Response of Georgia Dept. of                                 $112.30
                           Community Health to Trustee's Objection to
                           Claim (3)

 09/30/20         HC13     Review change of address mod by Debtor (.1)                          $37 5 0
 09/30/20         HCB      Prepare for hearing on `Ilruateels Objections to    0,80            $300.00
                           Claims (.8)

 10/01/20         HCB      Attend telephonic hearing on.Trustee's             , 1.20           $450.00
                           Objections to Claims (1.2)
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Matter No. 43-.i                                                                         January 14, 2021
Cassandra Johnson Landry, Debtor I S-55697-LRC                                                     Page 9


11/04/20     HCB      Prepare and file Withdrawal of Trustee's                    0.60           $225.00.
                      Objection to Claim of Georgia Dept. of
                      Oanununity Health (.6)

12/03/20     HCB       Review of Order Granting Tnistee's Motion to               030            $I 20
                       Disallow Claims (3) •

01/05/21     HC13      prepare Application for Compensation for                   4.00          $1,500.00
                       Attorney for Trtistee (41.0)

                                                         Hours:               63.40
                                                      Total..es:                               $23,775.00


Ealing Summary

   Previous balance                                          $0.00
   Payments & adjustments                                     0.00 •
   Current fees & expenses                               23,775.00

   Tp.411 now due                                       $23,775.00


                      Please make cheeks payable to Herbert C. BroctfootXL.P,C.
                                      Tax. ID No. XX-XXXXXXX
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  6.) Preparing required reports

  7) Performing banking functions,• and Handbook for Chapter 7 Trustees Page 4-22

   3) In appropriate cases, filipg applications for unployme t of professionalsand supervising

  those professionals,

  9) Tasks completed byTrustees Counsel should .NOT be billed at.a higher rate if the Chapter 7

  Trustee is capable of performing the same task,

         B. The aforementioned trustee duties are not compensable as legal or     counting services

  Unless sufficiently documented to show that special circumstances exist. Given the Debtor was

  ccn ied reqUests for ft-and investigations sjccial circumstances do NOT exist (EXHIBIT A)

  1/7/20 9, 1/2/2019,1/8/2019, 1/24/2019, 2/812019,2/15/2019, 3/27/2019,6/10/2019,3/27/20,

  I/5/2021, 11/4/2020, 8/21/2020, 08/26/20, 2/12/2020,12/4/2019, 1/11/2020, 1/13/2020 (1),

  1/13/2020(2). 1/13/2020(3) 11/26/2019, 11/22/2019, 1/20/2020, 1/24/2020 1/28/2020,1/29/

  2020,2/3/2020, 2/4/2020, 2/12/2020, 2/10/2O20..216/29202, 12/4/2019, 1/10/2020, 11121/2019,

  :4410/2020,4/9/2020, 3/2712020, 3/11/2020, 3/05/2020, 3/4/2020, 4/16/2020, 7/9/2020, 6/3/2020,

  6/2/2020,5/27/2020„5/19/2020, 4/25/20201 7/17/2020, 7/29/2020, 7/30/2020, 8/12/2020).

  Furthennore, it appearS words were used hiterchângeably/substittitecilbr Wording outlined within

  the Chapter 7 Trustee Handbook in order validate billing.

      C. Chapter 7 Trustee did not provide an explanation of payment requested as it relates to

          defining each expense which provided the accumulative amount listed of42172 and also

          how the:amount of 909:3.44 was derived, This information was requested pret ously

          wit hin:.the WARN) 1p Compel submitted by Debtor (EXHIBIT A)

      D. The status of the Chapter 7 Trustee's list of Abandonments as reflected within 'Form I

          /Individual Estate Property Record and Report „BUT not addressed within the


                                                    2
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                                    EXHIBIT B




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     From Q:eai76Wrardgmenta1healthgeor,gia corn
 "   Date: Thu, J11.1109,2.016 '1032 arn
        To: cassandragmentalhealthgeorgia.com


    NoVember 2016, I contacted Valerie via email as the new DFCS Service Manager to come into the office to staff/review her cases.
    She informed me at that time That she did not have any cases and told DFCS case managers on the cases she serviced that she
   was no longer employod with the agency because she had not been paid and they should look for another provider to transport At
    that time I asked her why didn't she inform ABC to reassign the cases to another worker and she did not respond.:
                                           .     ,                                                     .      .
  • POcgrob.e.r 2015,1cOntaCtedvatelie           goo thp-,Acestaling tbat s.he waS nottiaidsfor half Ofthemonth of4ulY and nono:Of
    AugustOr September and was seeking payment At that tirrie,S1 pulled notes and only Iodated July There Were no notes for August
    oraepteHier2O15,1Provided Valerie With. a total for toMebtAtlYinVOice still owed at the. agency was awaiting pfcs Payment.
    as they hada obtain a WAIVER for payment from their State 9014 teiscOtted this issue with MS: Landry and she :inetruCted me to -
    Contact Valerie and allow her to resubmit her notes for the missing months she was not paid, which Were August and September
    2015.. Valerie Wes contacted Via email and tplepnone to resubmit the-nOtet as they would be processed for Payment Valerie carnal
   ...to the office and submitted only the month of August and stated she could not lobate September 2015 On her computer, however to:
    give her until the insod day to locate Ms Landry agreed and allowed Valerie the next day by close of butiness.(60rn)te'Sulornit#ie
   ;September 2015 netes, The nextday Valerie was emailed by MytelfeetelhO agreement. Valerie telephoned the nextday and
    stated that she could not locate them but to process August and await the approval of the DFCS Waiver for payment to the agency.-

   March 2016, Velorie.Was nontacted viatelephene and a voice message:was left that the payment was received for the Waiver
   along with August notes and that her chock is ready and to call to confirm her address, No response was ever received from. her as.
   of this date.,
                                       .                                                                                     .    .
   Mt:Nate:rid ButrioUgh did rkit.orp.vio the
                                            . . agency:with:a
                                                 .       .     letter. Ofiretignatian aito the. allegations
                                                                                                     .      as welt at Informing the agency
   to reassign the cases the serviced to ancilherWorker within Attachment and Bonding, but instead informed DFCS cape managers
   to find another provider iipenfiept Qt.:oh:de Lamer reported: to me thattheBridges.daseweeessigned to. Valerie and after. her
     eparti.ire She Was forced to obtain atsiStance. for transportation from anther agency as Valerie stated to her that she was no
 , onger employed with the agency and there wasn't anyone else with ABC available to take the.4eao.*Tila agency regained the
   case for perviCesin.:May.2616:after Md. Lanier learned that this information was not true and ABC indeed hadstaff to service the
   childtatfaiid.faMily. ABC lost revenue dueto.110-ttaterrientMade by Valerie indicating that the agency could not provide serViCet,
   from the months of Septelnber415-thru.:April 20,16,..1-necaseWasSehedUled for services thru Ape in May 41 8-




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   Tucker, GA 30084
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                              EXHIBIT C




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       Your Statement




       SumtnOr/                    Accounts (Closed)            Collections                 Inquiries               Public Record's Credit Scow




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                       EXHIBIT D




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           Company Sold:
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           Date:pperied                                                                              ORLANO0ift.:3288§-,
                                                                                                     (866) 220-C2541
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   CASSANDRA LANDRY - Experian                                                                                                          es
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       ACCOUNT DETAILS                                                          :CREDIT USAGE

       Account Name                                     SYNCB/SAMS CLUB                               Unknown Credit Usage
                                                                                                      Credit usage could not be calculated for this account
       Account # •                                          771412XXXXXX.
                                                                                                      because either the balance and/Or Credit Ilrnit were not
                                                                                        N/A
                                                                                                      reported
       Original Creditor:

       Company Sold
                                                                                CONTACT INFORMATION
       Account Type                               Reed ving Charge AccOunt
                                                                                PD BOX 965005
       Date Opened                                               Nov 1.2005     ORLANDO, FL 32896
                                                                                (800) 964-1917
       AccoUnt Status                                                Closed
                                                                                 PAYMENT HISTORY
       Payment Status                   Account transferred to another office
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        ACCOUNT DETAILS:                                                                             CONTACT INFORMATION

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        Original Creditor                                              syNCNBONY BANK                 PAYMENTHISTO RY

        Company Sold                                                                                        : iO17,                  2014
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        Payment Status        Seriously.paSt duesdate / aesigned to attorney, collection
                              agency, or. credit grantor's internal collection department

        Status Updated                                                            Jan 1,2017

        Balance                                                                         39;b61

        Balance :                                                                Sep 18, 2617
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         Original   lance                                                                  9001

        Mont*
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         Past Due                                                                       :B001
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        Summary                         Accounts                          Collections                              Inquiries                ;.Public Records     Credit Score




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        ACCOUNT DETAILS

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        Status Updated                                                            Mar 1,2009
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        Balance                                                                                  SO
                                                                                                         CILIQO           OCETE3 EIC3C3CI
        Balance Updated                                                           Mar, 4 2009            Sep Oct Nov; Deo Sep Oct 1•40v Dec Sep Oci hipv :Seu

        Credit Limit                                                                       $590
                                                                                                         OECD C3C){::)1=3 • C3C3C--)
                                                                                                                 '2006.
                                                                                                                      .                   2008                  40o.4
        Monthly Payment                                                                                  :tin', Feb ,   Apr         Jan Feb MO Apr        Jan Feb %der

        Past Ode Arriount.                                                                                May .Jun Jul• Aug
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                                                                                                                                    •May:Jun . Jul . Aug Mef Jun A444:

        Highest Balance                                                                   :S496
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                                                                                                         Sep' Ott :No DoC:
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                                                                                                                                     Sep Oct NOV Dec Sep Oct Nov. Dec
        Terns                                                                        1.3q.PlYing
                                                                                                                     1711(          DODO DOOR
                                                                                                                 , 2003                      2002
        Respcinsibility                                                              I ndlirlduat
                                                                                                          Jan .Feb NI* Mir          Jan   Feti-
        Your Statement                                                                                   CEJEDI
                                                                                                         ryley...„!un JJi. Aug
                                                                                                                               MDR:
                                                                                                                                 .Jul
                                                                                                                                    Moy:Jun         Aug

        Comments             Credit line cloSa&grantrit *nest-reported bY Subsolib r                            OC - )              C--)00C1
                                                                                                         : Sep ...Oct .,Nov OP-G,   Sep Dot Nov Dec
                                                                                                                EJR




       .Summary                      Accotrts (Closed)                              Collections                  •       Inquiries              :Public Records Credit Score




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     CASSANDRA LANDRY- Experian
     Date Of Report: Oct 3; 2T17,
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                                                                                    coms1TY8iqviciORIASke
                                                                                                                                                                                  Open
                                                                                         S....5U37iXXXXXX

         ACCOUNT DETAILS -                                                                           CREDIT USAGE

         Account Name                                               COMENITYBKNICTORIASEC                                    No Credit y$agt
                                                                                                                             You have no account pala rice: Keening your acc-ount
         Account #                                                               585637XXXXXX
                                                                                                                             bOances as low ea possible . can have a positive impact
                                                                                                              0%
                                                                                                                             on Our credit
         Original Creditor

         Company Sold
                                                                                                     CONTACT INFORMATION
         Account Type                                                  RevolyIng Charge Account
                                                                                                         POSBOX 18278g
         Date Opened                                                                 Jan 1; 2011         Cameos, OH 43218,

         Account Status                                                                    Open          PAYMENT HISTORY

                                                                                                               2017                2016                  201$
         Payment Status                                            Current, was past dUe 30 days
                                                                                                         Jan Feb Mat. Apr.   Jan Feb Mae Apr.      Jan Feb My nor

         Status Updated                                                              Sep 1, 2016         2 . gRE         CDOC2ED            OE El
                                                                                                         May JO Jt .Aug: May. Jun itA •Aug  May Jun Jul Aug
         Balance                                                                              SO       CEJED CD CD DECIO
                                                                                                     :SeA ,Oct. Nov. Dec . Sep Oct New Dec: Sep Oct Noy Oec
          Balance Updated                                                            Sep 92017
                                                                                                     •
                                                                                                      1,DECial .022R C:12211]
         Credit Limit                                                                     81,000               2014                  2013                 2012
                                                                                                         Jan teb Mar j Apr   .1a0. Feb !Oar Apr.   Jan. Feb Mor Apr
          Monthly Payment                                                                      $5    ,E1Q(:-JO'ClE3E11:1              MOD
                                                                                                                                      May Jun Jul 'Aug
                                                                                                      May Jun Je Aug May Jun 4,41 Aug
          Past Due Attount                                                                           1 0*1220 CEICDO DEDOCD
                                                                                                      Sep. 'OCt  Dec Sep .0ct Nov Dec Sep Oct Nov Dec
                                                                                                                  NOV
          Highest Balance                                                                   s167
                                                                                                      Sron, LTJR EIDC:123 E101- 10
          Terms                                                                         Revolving

          Responsibility                                                                Individual

          Your Statement

          Comments




         Summary                              Accounts (Open)                          coliectlOhS.                     Inquiries           Public Records credit: Score




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     CASSANDRA LANDRY- Expenait
     Date of Report' Oct 3,2917                                                                                                                                            ti,experiam
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      A                                                                                                                                                                                   Closed


           ACCOUNT DETAILS                                                                             CREDIT USAGE

           Aceount Name                                                              BK OF AMER                                   High Credit Usage
                                                                                                                                  Keeping your aCcount balances as low as posSiHe can
           Account                                                                           XXXX
                                                                                                                                  have a positive impact on your credit.

           Original Creditor

           Company Sold
                                                                                                       . CONTACT INFORMATION
           Account Type                                             Credit Card- Revolving Terms
                                                                                                       PO BOX 982238
           Date Opened                                                                 Feb1,2609       EL PASO, TX 79998
                                                                                                       (BOO) 421-2110
           Account Status                                                                   Closed
                                                                                                       PAYMENT HISTORY
           Payment Status                                                               Charge-off
                                                                                                             2017                       ZOlt                        20
                                                                                                       Jun Feb. Mar Apr           Jan Feb Mar. Apr           Jarr Feb Mar Apc.
           Status Updated                                                               Jul 1, 2016
                                                                                                       ECEED                      OLIO                       CDOOR
                                                                                                        May JuJ,J Aug             May: Jf.an•.,.Jut At'itt   May.JUri        'Aug
            Balance                                                                        S22,656:
                                                                                                       DECIF1                     EROS'                      EIFT ; 12
            BalanCe Updated                                                           Sep 17,2017      SeP, Oct Nov Dec           Sep Oct ie61 Dec           •Sep Oct Nov Dec
                                                                                                       017100 ROCDEJ EICDOE
           •Credit Limit                                                                   S22,600
                                                                                                                2014                   ..20.13.                        2012.
            Monthly payment                                                                               Jan Feb Mat Apr.        Jan Feb Mar Apr            ; Jan   Feb 'Mar Apr
                                                                                                       1:21[21C317,,71 F07,1.E3C12 OCIE11
            Past Due Amotipt                                                               $22,656        May JO J14 Aug          May•Jun 'jut Aug           May Jun ,.10 :Aug

            Highest Balance
                                                                                                        EgF             1C F C                               cp[pc3r07,1
                                                                                                        Sep Oct     1,1DY EX'G    Sep Oct Nov Dec            Set). Oct Nv Dec
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            Terms                                                                         ReyolOng
                                                                                                                2011                    2010 .
            Responsibility                                                               'Indlyidual
                                                                                                          Jan Feb Mar Apr.        Jan Fah 'Mat Apr .

            Your Statement                                                                                EOCIEJ                  0000
                                                                                                          May Jita...Jul.:.Abg.    May jUri.i:Jut Aug
            Comments                 CreditlIne closed-grantor regueskeported bY subScrlber               DEJEC]                  DIDOU.
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            Summary.                            Accounts (Closed                      'n Collections.                    Dlctuiries                   Public Records Credit core




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   CASSANDRA LANDRY- Experian
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    Date of Report Oct 3,2017
                                                                                                                                                   a!experian.
                                                                                     THE BURBAUSINg                                                              Closed
                                                                                          5505r4



        ACCOUNT pEtmLs                                                                             CONTACT INFORMATION


        Account Name                                                     THE BUREAUS INC           1717 CENTRAL ST
                                                                                                  • EVANSTON, IL 60201
        Account #                                                               415505XXX           (BOO) 708-7071

         Original Creditor                                               CAPITAL ONE N.A.          PAYMENT HISTORY

                                                                                                         2017                    2010
         Company Sold
                                                                                                   Jan:Fet.) Mar Apr: Jan Feb NiariApr
         Account Type                           Collection Department / Agency / Attorney
                                                                                                   May Jun   "Jii   Aug.
                                                                                                                           E101- 10
                                                                                                                           May. /in. Jul .Aug
         Date Opened                                                            Sep 1,2016
                                                                                                   Sep Ort Nov ()tic       Sett Oct Npv-peo
         Account Status                                                               dosed       1=i1EIDE DODO
         Payment Status        Seriously past due date / assigned to attorney, collection
                               agenCy, or credit grantor's internal collection department

         Status Updated                                                          Oct 1,2016

         Balance                                                                      510,689

         Balance                                                                Sep.19, 2017
         Updated

          OriginW Balance                                                              10799

          Monthly
          Payment.

          Past Due                                                                    510,689
          Amount

          Highest Balance

          Terms                                                                       1:. yonth

          Responsibility                                                             Individual

          Your Statement

          Comments




          Summary                        Accounts                           Collections                             nquiries            .,Public Records    Credit Score




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    CASSANDRA.LAODRY-• Experion                                                                                                                    0.
    Dote of Report: Oct 3;2017                                                                                                                     expenart
                                                                                       THE BUREAUS l'NG
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         ApoOtint NO*                                                      ThOREJSINC              17.17- gENTRA(2s-r
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                                                                                                   6iAms;rdiv;iL 6020i
         Account #                                                                 415505XXX       (800),708-707.1

         Original Creditor                                                 cis;   At ONE           pAi;MEJVIT•Hi$T0Ily

         company so14                                                                                    2017                   2016
                                                                                                   Jan Feb Ma.t. Apr    ,Jail Feb hoe ipe.
          AtcountType                             Call eCtIo61:16-Oirtrharit i:Age cy / Attorney   ROOS                 001:1=1
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         .DotepOened                                                               Sep 1,2016                       :ULJFIC:]
                                                                                                   Sep Oct Nov: Dec :..sepi ilov Dec
         A0coorit Statild                                                               c1Osed        JDUD              :.C1C1C3E]
          Payment StaWS:: Seriously OSot due dale / assigned to attorney collection
                          agency or credit grantor's; internsl. collection department

           tattio: U doted                                                         901,.?.016

          861ance

          Balance                                                                 Sep 19, 2017
          Updated

                                                                                         14119

          Monthly
         •Payment:

          Past.Due                                                                     $14,0.19
         • .••. ..• ••
         :Amount

          HlOtiest Ualnce

          Terms'                                                                       1 Month

          Reitionsibilit9                                                             Individual

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                                                                            Collections'                       Inquiries               ;Public Records   Credit Score ;




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     CASSANDRA LAWRY- Experian
   • Date of Report Oct 3, 2017                                                                                                          "a.pxpertam
                                                                                                                                          i

    4                                                                            THE BUREAUS MC
                                                                                      41548.4xxx                                                       closed


        ACCOUNT DETAILS•                                                                       CONTACT INFORMATION

        Account Name                                               THE BUREAUS INC             1717 CENTRAL ST
                                                                                               EVANSTON, IL 60201
        AccOunt 4.                                                          416484XXX          (800) 709-7071

        Original. Creditor                                          CAPITAL ONE N.A.           PAYMENT HISTORY

        Company Sold                                                                                 2017              2016
                                                                                               Jan Feb Mar Apr   Jan Feb Mar Apr
        Account Type                       Collection Departarnt / Agency / Attorney           EEDEI           DODD
                                                                                               May Jun Jul Aug May Jun Jul Aug
        Date Opened                                                          Aug 1, 2016       EECID DODO
                                                                                               StO Oct NOV DOC sap Oct Nov Dec
        Account Status.                                                            Closed.     !DODO CIO 121:i
        Payment Status       Seriously past due data assigned to attorneY, collection
                             agency, or credit-grantor's internal collection department

        Status Updated                                                        Oct 1. 2016

         Balance                                                                  $11,439

         Balance                                                             Sept, 2017
         Updated

         Original Oathnoe                                                           11440

         Monthly
         Payment

         Past Due                                                                 $11,439
         Amount

         Highest Balance

         Terms                                                                    1 Month

         Responsibility                                                          Individual

         Your Statement

         Comments




         Summaty                  - Accounts                >          collections                          Inquiries         ,'Public Records   Credit $core




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 4.3.18 Application for Chapter 13 filed by Petitioner (OF pg 2 of 13)
 4.5.18 Notice of Meeting of Creditors for Chapter 13 to be held on 5.22,18 at 9am. Objections for
 Discharge due by 7.23.18. Non Gov claims due by 6.12.15, Confirmation Hearing to be held on
 '7.10.22 at 9.30am (OF pg 3 of 13)

 4.30.18 Objection to Confirmation of Plan by JP Chase (OF pg 49 of 52)
 430.18 Objection to Confirmation of Plan by JP Chase (NF pg 4 of 13)

 5.7.18 Objection to Confirmation of Plan and Motion to Dismiss Case filed by Brian K Jordan on
 behalf of Select Portfolio (OF pg 4 of 13)
 5.7.18 Objection to Confirmation of Plan and Motion to Dismiss Case filed by Brian K Jordan on
 behalf of Select Portfolio (OF pg 48 of 52)

 5.14.18 Objection of Confirmation of Plan and Motion to Dismiss Case by Brian k. Jordan behalf
 of Deutsche Bank (OF pg 5 of 13)
 5.14.18 Objection of Confirmation of Plan and Motion to Dismiss Case by Brian k. Jordan behalf
 of Deutsche Bank (NF pg 4 of 13)
 5.14.18 (Objection to Confirmation of Plan and Motion to Dismiss Claim filed by Brian k Jordan
 on behalf of Wilmington Savings (OF pg 48of 52)
 5.14.18 (Objection to Confirmation of Plan and Motion to Dismiss Claim filed by Brian k Jordan
 on behalf of Wilmington Savings (OF pg 4 of 13)

 5.22.18 Chapter 13 Section 34] (a) Meeting not held) (OF pg 47 o152).
 5.22.18 Chapter 13 Section 341 (a) Meeting not held) (NF pg 5 of 13)

 5.30.18 Objection to corifirmatiOn of Plan and Motion to Dismiss filed by William Alexander
 Bozarth on behalf od Melissa Davey Chapter 13 Trustee (OF pg 47 of 52)
 5.30.18 Objection to confirmation of Plan and Motion to Dismiss filed by William Alexander
 Bozarth on behalf oF Melissa Davey Chapter 13 Trustee (OF pg 5 OF .13)
 530.18 Objection Oto confirmation of Plan and Motion to Dismiss filed by William Alexander
 Bozarth on behalf od Melissa Davey Chapter 13 Trustee (OF pg 47 of 52).


 6.20.18 Objection to Confirmation of Plan filed by Stephen 0 fle..arn Jr. Titlemax (OF pg.5 of 13)
 6.20.18 Objection to Confirmation of Plan filed by Stephen 0 Hearn Jr. Tidemax (OF pg 47of 52)

 7.18.18 Notice rescheduling Meeting of Creditors, Notice rescheduling Confirmation Hearing filed
 by Many Campbell on behalf of chapter 13 Trustee Melissa Davey. Confirmation Hearing to be
 head on 9.25.18 at 9:30am (OF pg 46 of 52)

 8.29.18 Supplemental Objection to Confirmation of Plan and Motion to dismissed by Mandy
 Campbell on behalf of Melissa Davey Trustee 13 (OF pg 8 of 13)
 8.29.18 Supplemental Objection to Confirmation of Plan and Motion to dismissed by Mandy
 Campbell on behalf of Melissa Davey Trustee 13

 9,13.18 First Request to convert from Chapter 13 to 7 (OF pg 40..o152)
 9.13.19 FIRST R.EQUESRT TO COVERT FROM CHAPTER 13 TO CHAPTER 7 (NF pg16 of
 18)
                                               13
